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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                  TYLER DIVISION


UNITED STATES OF AMERICA                     §
                                             §
                                             §      CRIMINAL ACTION NO. 6:11cr4(3)
v.                                           §
                                             §
MANUEL VENEGAS GOMEZ                         §

                                            ORDER

       The above entitled and numbered criminal action was referred to United States Magistrate

Judge John D. Love pursuant to 28 U.S.C. § 636(b)(3). The Report of the Magistrate Judge which

contains his proposed findings of fact and recommendations for the disposition of such action, has

been presented for consideration. The parties have made no objections to the Report and

Recommendation.

       The Court is of the opinion that the findings and conclusions of the Magistrate Judge are

correct and hereby adopts the Report of the United States Magistrate Judge as the findings and

conclusions of this Court. It is therefore ORDERED that the Defendant’s plea of guilty is accepted

and approved by the Court. Accordingly, the Court finds the Defendant guilty of Count One of the

Superseding Indictment. Finally, the plea agreement is approved conditioned upon a review of the

presentence report.

         So ORDERED and SIGNED this 26th day of April, 2011.




                                __________________________________
                                LEONARD DAVIS
                                UNITED STATES DISTRICT JUDGE
